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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 TQ Delta, LLC,
             Plaintiff,

 v.                                         Civil Action No.: 2:21-CV-00310-JRG

 CommScope Holding Company, Inc., et al.,   JURY TRIAL DEMANDED
           Defendants.




  TQ DELTA’S MOTION FOR SUMMARY JUDGMENT OF NO BREACH OF ANY
 FRAND OBLIGATIONS (FAMILY 3 AND FAMILY 9A NON-ESSENTIAL PATENTS)
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I.       INTRODUCTION

         Plaintiff TQ Delta, LLC (“TQ Delta”) respectfully requests that the Court enter a summary

judgment in its favor with regard to the CommScope Holding Company, Inc., CommScope Inc.,

Arris US Holdings, Inc., Arris Solutions, Inc., Arris Technology, Inc. and Arris Enterprises, LLC’s

(collectively, “CommScope”) claim for breach of contract (Counterclaim XXVII) for the asserted

Family 3 and Family 9A patents. TQ Delta brought suit against CommScope asserting both

standard essential patents and non-standard essential patents. In response, CommScope brought a

counterclaim for an alleged breach of TQ Delta’s contractual obligations to license its standard

essential patents on fair reasonable and non-discriminatory (“FRAND”) 1 terms stemming from its

participation in the International Telecommunication Union (“ITU”). See Dkt. No. 17 at pp. 37-

39. While CommScope has raised a counterclaim for an alleged breach of a FRAND obligation,

that counterclaim cannot succeed with regard to the asserted Family 3 and Family 9A patents as a

matter of law because both parties agree that none of the asserted Family 3 and Family 9A patent

claims are standard essential. Summary judgment is warranted.

II.      STATEMENT OF THE ISSUE

         Is the entry of a summary judgment against a party asserting a counterclaim for breach of

contract appropriate when the counterclaim is premised on the breach of alleged contractual

FRAND obligations and the relevant patents are not essential for the implementation of a standard?

III.     STATEMENT OF UNDISPUTED MATERIAL FACTS

         1.     The Patent Statement and Licensing Declaration filed by a patent holder, including

those filed by TQ Delta, with the ITU-T are applicable only to patents essential to an industry

standard, in that, the patent holder states its “belie[f] that it holds granted and/or pending



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    The term “RAND” is alternatively used and is generally deemed synonymous with FRAND.

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V.     APPLICABLE LAW

       “The purpose of summary judgment is to isolate and dispose of factually unsupported

claims or defenses.” Synqor, Inc. v. Vicor Corp., No. 2:12-CV-287-RWS-JBB, 2022 U.S. Dist.

LEXIS 183808. at *8 (E.D. Tex. Sep. 26, 2022). “[A] summary judgment motion should be

granted ‘if there is no genuine issue as to any material fact and . . . the movant is entitled to

judgment as a matter of law.’” Affinity Labs of Tex., LLC v. Ford Motor Co., No. 1-12-CV-580,

2014 U.S. Dist. LEXIS 186888, at *4 (E.D. Tex. Sep. 3, 2014) (quoting FED. R. CIV. P. 56(c)).

“When the summary judgment movants demonstrate the absence of a genuine dispute over any

material fact, the burden shifts to the non-movant to show there is a genuine factual issue for trial.”

Bright Response, LLC v. Google, Inc., No. 2:07-CV-371-CE, 2010 U.S. Dist. LEXIS 146475, at

*5-6 (E.D. Tex. July 30, 2010).

VI.    ARGUMENT

       CommScope’s counterclaim for an alleged breach of a FRAND obligation cannot succeed

with regard to the asserted Family 3 and Family 9A patents as a matter of law because both parties

agree that none of these asserted patents are standard essential. Exh. B, CommScope’s Sixth Supp.

Objs. and Resps. to Plaintiff’s First Set of Interrogatories at pp. 33, 36, 39-42, and 47-52; Exh. C,

Cooklev Opening Expert Report at ¶ 1274. A party only owes a duty to be willing to negotiate a

license on FRAND terms if the relevant patent claims are standard essential. See HTC Corp. v.

Telefonaktiebolaget LM Ericsson, No. 6:18-CV-00243-JRG, 2018 U.S. Dist. LEXIS 212292, at

*3-4 (E.D. Tex. Dec. 17, 2018) (“SSOs have intellectual property rights . . . policies that ‘define

contractual terms for disclosure and licensing of patents that are essential for standard

implementation.’”) (quoting TAFFET, RICHART & HARRIES, PHIL, PATENTS AND STANDARDS:

PRACTICE, POLICY, AND ENFORCEMENT at 4-2 (Michael L. Drapkin et a. eds., Bloomberg




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Law Book Division, 2018) (emphasis added). Any FRAND obligations attach only to patents that

are essential to the practice of a particular industry standard. Courts have recognized this principle,

for instance:

       FRAND describes a commitment to license patents which are essential to an SSO’s
       adopted standard on fair, reasonable, and nondiscriminatory terms. As Vizio
       explains, “FRAND commitments are not required by law, but are required by the
       standard-setting organizations . . . before they will issue a standard that requires the
       utilization of a patent.”

Barnes & Noble, Inc. v. LSI Corp., 849 F. Supp. 2d 925, 931 n.4 (N.D. Cal. 2012) (quoting Vizio,

Inc. v. Funai Elec. Co., No. CV-09-0174 AHM (RCx), 2010 U.S. Dist. LEXIS 30850, at *2 n.3

(C.D. Cal. Feb. 3, 2010)) (emphasis added).

       TQ Delta’s Interrogatory No. 5 sought, for each claim of each asserted patent,

CommScope’s contention as to the claim’s essentiality. Exh. B, CommScope’s Sixth Supp. Objs.

and Resps. to Plaintiff’s First Set of Interrogatories at p. 33-34. In response, for every asserted

claim of every asserted patent and every industry standard at issue in Family 3 and Family 9A,

CommScope answered that “[the asserted claim of the asserted patent] is not essential to the

implementation of [the relevant ITU-T standard].” Id. at pp. 39 (the ’882 Patent), 40 (the ’048

Patent), 47 (the ’411 Patent). TQ Delta agrees that none of the Family 3 and Family 9A patents

are standard essential. See Exh. C, Cooklev Opening Expert Report at ¶ 1274; Exh. D, Plaintiff’s

Second Supp. Objs. and Resps. to CommScope’s First Set of Interrogatories at pp. 23-27; Exh. E,

Putman Expert Report at ¶¶ 25-27. This can be seen in the opinions disclosed by TQ Delta’s

technical expert, Dr. Cooklev, as he states that the Family 3 and 9A patents “are not standard

essential patents . . . because, while the relevant standards show that many limitations are met, the

claims have additional elements that are not expressly called for by the VDSL2 standards (Family

3) and G.inp (Family 9A), including ‘shared memory.’” Exh. C, Cooklev Opening Expert Report




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at ¶ 1274. TQ Delta’s contentions as to the “commercial” essentiality of the Family 3 and Family

9A patents are irrelevant to the instant analysis. Here, the critical question is whether the asserted

claims are technologically essential to an industry standard. And TQ Delta’s damages expert, Dr.

Putman, is explicit in drawing this significant distinction between technological and commercial

essentiality. Exh. E, Putman Expert Report at ¶ 27; see also id. at ¶¶ 25-26.

       In regard to CommScope’s counterclaim, just as with any other breach of contract claim,

the unambiguous language of the contract is determinative of the parties’ obligations. See, e.g.,

Driveline Retail Merch., Inc. v. PepsiCo, Inc., Civil Action No. 4:17-CV-00423, 2018 U.S. Dist.

LEXIS 84590, at *14 (E.D. Tex. May 21, 2018) (“The Court must enforce the unambiguous

language in a contract as written . . . .”) (applying Texas law). The documents pointed to by

CommScope to allege the existence of contractual obligations are unambiguous as to the fact that

they cover only those patents that are technologically essential to an industry standard. The PSLDs

provide that the patent owner “believes that it holds granted and/or pending applications for

Patents, the use of which would be required to implement the above [standard] . . . .” Exh. A,

TQD_TX00067557, at 67558 (emphasis added). To further clarify the point, “Patent” is defined

as “those claims contained in and identified by patents . . . solely to the extent that any such claims

are essential to the implementation of the same above [standard].” Id. (emphasis added). As

CommScope has admitted that the Family 3 and 9A patents are not standard essential, summary

judgment is appropriate.

VII.   CONCLUSION

       For the foregoing reasons, TQ Delta respectfully requests that the Court enter a summary

judgment against CommScope in relation to its breach of contract counterclaim (Counterclaim

XXVII) for the Family 3 and Family 9A patents.




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document and all attachments thereto are being

filed electronically in compliance with Local Rule CV-5(a). As such, this document is being




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